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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

JANE DOE,                                        :
                     Plaintiff,                  :
                                                 :
                     v.                          :        Civil No. 5:20-cv-00377-JMG
                                                 :
MORAVIAN COLLEGE, et al.,                        :
                  Defendants.                    :
__________________________________________


                                         ORDER

       AND NOW, this 20th day of September, 2021, upon consideration of Plaintiff Jane

Doe’s motion to seal (ECF No. 73), it is hereby ORDERED that the motion to seal (ECF No.

73) is GRANTED.

       It is FURTHER ORDERED that the Clerk shall mark as sealed plaintiff’s motion for

court order (ECFR No. 72).




                                                     BY THE COURT:


                                                     /s/ John M. Gallagher
                                                     JOHN M. GALLAGHER
                                                     United States District Court Judge
